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                    Exhibit B
                         1:25-cv-1775-BAH
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April 14, 2025

Oakville Bluegrass Cooperative
1314 S Grand Blvd
Spokane WA 99205-1174

Dear Recipient:

USDA has undertaken a review of Partnerships for Climate Smart Commodities (PCSC) grants. As a
result of that review, we have reformed and overhauled PCSC as the Advancing Markets for Producers
(AMP) initiative and identified changes to better align the initiative with USDA priorities. USDA is
reviewing existing grant agreements based on three Farmer First policy priorities:

                •    A minimum of 65% of federal funds must go to producers
                •    Grant recipients must have enrolled at least one producer as of 12/31/2024
                •    Grant recipients must have made a payment to at least one producer as of 12/31/2024

Our review of your grant NR243A750004G031 shows that you have failed to meet the first priority, and
therefore, your grant will be terminated pursuant to 2 CFR 200.340(a)(4). You will be afforded the
opportunity to resubmit a proposal that will be evaluated using the Farmer First policy priorities of
AMP. You have until June 20, 2025, to submit your new proposal.

If you have questions, please contact Colton Buckley, Chief of Staff of the Natural Resources
Conservation Service at colton.buckley@usda.gov.

                                                                 Sincerely,




                                                                 AUBREY BETTENCOURT
                                                                 Chief




Natural Resources Conservation Service
USDA is an equal opportunity provider, employer, and lender.
